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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


                                      TRANSFER ORDER

       IT IS ORDERED that the following Section “A” cases are hereby reallotted to Judge

Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:

       22-140          USA v. Joseph P. Schwartz, IV

       23-24           USA v. Michael Williams et al

       23-59           USA v. Dent Hunter

       CIVIL ACTION CASES:

       21-317          Atchafalaya Basinkeeper, Inc. et al v. U.S. Army Corps of Engineers

       21-1462         In Re: In the Matter of Magnolia Fleet, LLC et al

       22-66           Tamara D. Grant v. Administrators of Tulane Educational Fund et al

       22-551          James A. Watkins et al v. Plum, PBC et al

       22-2129         Stephanie L. Taillon v. New Orleans City

       22-2338         Barrister Global Services Network Inc v. Stacey Powell et al

       22-3835         Nicholas Reed Magee v. Florida Marine, LLC et al

       22-4334         Kristin Kingrea et al v. Park Hotels & Resorts, Inc. et al

       22-4450         FSC Interactive, LLC v. Rogers Collective, Inc.

       22-5297         Kendale Gordon v. New Orleans City et al

       23-522          Crystal Queen v. Foremost Insurance Company

       23-680          Corinne Missionary Baptist Church v. Independent Specialty Insurance
                       Company

       23-1012         Lynnton Ethridge et al v. Great Northern Insurance Company

       23-1069         Helene Gregorich v. FedNat Insurance Company, et al

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       23-1082         Dick Fedderman et al v. Century Surety Company

       23-1149         Majoria Six LLC v. Certain Underwriters at Lloyd's et al

       23-1184         Stephen Flynn et al v. State Farm Fire and Casualty Company

       23-1269         Kellie Sanchez et al v. Xavier University of Louisiana

       23-1369         St. Charles Parish et al v. Federal Emergency Management Agency

       23-1487         Steven C. Ducote et al v. GeoVera Specialty Insurance Company

       23-1507         Gregory Duronslet et al v. State Farm Insurance Company

       23-1560         Linda Carter v. State Farm Fire & Casualty Company

       23-1578         Matthew Shilling v. Safepoint Insurance Company

       23-1644         Eddie Blanco et al v. GeoVera Specialty Insurance Company

       23-1650         Blunt Wrap USA, Inc. et al v. Show Cigars, Inc.

       23-1679         Corey Walker v. GeoVera Specialty Insurance Company

       23-1839         Louisiana State et al v. Department of Homeland Security et al

       IT IS FURTHER ORDERED that the following Section “B” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:

       12-1            USA v. Gerard J. Howard et al

       23-71           USA v. SEALED

       23-116          USA v. Larry J. Williams

       CIVIL ACTION CASES:

       21-339          Odette Blanco de Fernandez et al v. A.P. Moller-Maersk et al

       21-969          James Verret, Sr. v. REC Marine Logistics, LLC et al

       21-1085         Roxane Smith v. Depuy Synthes Inc. et al

       21-1652         Xavimen Decquir v. Jonathan D. Bentel et al



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       21-1656         Luke Billiu v. Sea Support Services, LLC et al

       22-131          In Re: In the Matter of Westbank Fishing, LLC

       22-1894         Seontae Pichon v. Talos Energy LLC et al

       22-4540         Kesha Creel v. Intact Insurance Company et al

       22-5231         Rehman Rahim et al v. Independent Specialty Insurance Company et al

       22-5590         Eric F. Capdeville v. Southwest Airlines Co

       23-1124         Cheryl Becnel et al v. Taylor Seidenbach Inc. et al

       23-1392         7108 Olive Street, LLC v. Wilshire Insurance Company

       23-1416         Linda Sharpless et al v. Westchester Surplus Lines Insurance Company

       23-1498         Rebecca Candebat v. Homesite Insurance Company

       23-1635         Gloria Gray v. Safepoint Insurance Company

       23-1671         Shirah Ray v. GeoVera Specialty Insurance Company

       23-1700         Southern Hotel, LLC v. Certain Underwriters LLoyd's London

       23-1702         Rachel Regina et al v. Safeport Insurance Company

       23-1749         Leonard Ray Jr. et al v. GeoVera Specialty Insurance Company

       IT IS FURTHER ORDERED that the following Section “D” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASE:

       14-131          USA v. Jeffery Wilson et al (closed)

       CIVIL ACTION CASES:

       13-5417         Gregory P. Cadella v. Johnson & Johnson et al

       20-980          Ahmed Baqer et al v. St. Tammany Parish Government et al
       c/w
       20-1840         Kevin Louviere et al v. St. Tammany Parish Government et al

       22-307          Michael Lee v. H&E Inland Services, L.L.C.

       22-1379         Cypress Point Services, L.L.C. v. Shell USA, Inc., et al
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       22-2322         Healthcare Recruiters LLC v. Accountable Healthcare Staffing, Inc.

       22-2727         Kristi McKinney et al v. USAA Casualty Insurance Company

       22-5359         In Re: Hurstell

       23-2            Jane Doe v. Department of Homeland Security et al

       23-22           Darryl F. Marlbrough, Jr. v. Cornerstone Chemical Company

       23-183          Wendell Hall v. American Security Insurance Company

       23-381          Jackson Avenue Management, LLC v. Independent Specialty Insurance
                       Company

       23-989          Paula Saverin v. American Security Insurance Company

       23-1348         John Doe v. The Administrators of the Tulane Educational Fund

       23-1558         Janice Baele, et al v. University Healthcare System, L.C., et al

       23-1599         Iris R. Rumick v. GeoVera Advantage Insurance Services, Inc.

       23-1643         1624 Gov Nicholls, LLC v. Underwriters at Lloyds, London

       23-1752         Natalie Lewis v Ocean Harbor Casualty Insurance Company

       23-1762         James Silva v. Curtiss-Wright Corporation, et al

       23-1765         Stavros Savvaides, et al v. Chubb European Group SE

       23-1784         Maria Compagno v. Atain Specialty Insurance Company

       23-1804         Kelly Breaux v. Ocean Harbor Casualty Insurance Company

       23-1825         Kody Blanchard v. Gerald Turlich, Jr., et al

       23-1830         h.Wood Group, LLC v. Allison & Glenn, Inc.

       IT IS FURTHER ORDERED that the following Section “E” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:

       22-265          USA v. Jerome Shaquille Wilson et al

       23-53           USA v. Marcus Theodore

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 CIVIL ACTION CASES:

 12-2516     Keel Charles v. Nabors Drilling USA LP et al

 21-1522     In re: In the Matter of Offshore Oil Services, Inc.

 21-2120     Morgan Ratley v. Cantrell Davis et al

 22-451      Mallick G&M LLC v. Agility Restorations LLC
 c/w
 22-452      Bayou Mallick LLC v. Agility Restoration, LLC

 22-501      Melene L. Gastinell Williams v. State Farm Fire and Casualty Company

 22-1817     Artemios Dagoglou, Jr. v. QBE Specialty Insurance Company

 22-643      Melissa Riggio v. Social Security Administration

 22-1727     Gates et al v. Volkswagen Group of America, Chattanooga Operations
             LLC et al

 22-2366     Premiere Lake One, LLC et al v. StarStone Specialty Insurance Company

 22-2573     Robert Ruffin et al v. Orleans Parish Sheriff's Office et al

 22-2591     In the Matter of Fleet Boats LLC, et al

 22-3808     Melanie Leonard v. Allied Trust Insurance Company

 22-4756     Kathryn Courtney Young v. Wilshire Insurance Company

 22-5023     Rebecca Leonard v. Allied Trust Insurance Company

 22-5155     Arjell Dorsey v. Standard Fire Insurance Company

 22-5201     St. Thomas Community Health Center, Inc. v. Arch Specialty Insurance
             Company et al

 23-303      Scott Landry v. General Motors, LLC

 23-831      Ben Richard v. Ocean Harbor Casualty Insurance Company

 23-876      Joan Vicknair v. State Farm Fire & Casualty Company

 23-912      Jing Ma v. Department of Homeland Security et al

 23-1057     Shiva Akula v. Bernard Cassidy et al

 23-1133     Albert Anthony Grayer v. Heath Martin et al
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       23-1195         Teresa Lundberg v. Lincoln National Life Insurance Company

       23-1205         Curtis Joseph Lawrence v. Ashton Plantation Homeowners Association

       23-1291         Plumbers and Steamfitters Local 60 Pension Fund et al v. GH Mechanical
                       and Services LLC

       23-1299         Bonnie Williamson v. American Zurich Insurance Company

       IT IS FURTHER ORDERED that the following Section “G” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:

       95-301          USA v. Rose Marie Young

       99-354          USA v. Gregory Joseph Hernandez et al

       21-45           USA v. Bret Berry

       21-130          USA v. Emmanuel Ugbaja

       CIVIL ACTION CASES:

       19-1384         Johnny Traweek v. Marlin Gusman et al

       20-1496         William Denison Kelley v. Marc J. Domingue et al

       21-2304         Brandy McKay v. Lamar A. Davis et al

       22-379          Latoya Nixon v. Vera Chester et al

       22-464          Fore by Fore, LLC v. Independent Specialty Insurance Company

       22-959          Diversified Maintenance Systems, Inc. v. J. Star Enterprises, Inc.

       22-1024         Anderson Traylor Edwards, LTD v. Berkshire Hathaway Guard Insurance
                       Co., et al

       22-1339         Susan Gumpert et al. v. QBE Specialty Insurance Company

       22-1626         AKI, LLC et al v. Berkshire Hathaway Guard Insurance Companies et al

       22-1919         Bayou Asset Holdings, LLC v. ASAP Insurance Agency, LLC et al

       22-2570         Whale Capital, L.P. v. Stephanie S. Ridgeway et al

       22-2636         Shelita Hurst v. Primerica Life Insurance Company
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       22-2646         Alpha Testing & Inspection, Inc v. RLI Insurance Company

       22-2674         Jeanne Couch v QBE Specialty Insurance Company

       22-2807         Antoinette Benton et al v. Ocean Harbor Casualty Insurance Company

       22-3557         Gayle J. LeBeau et al v. Huntington Ingalls Incorporated et al

       22-3694         Stacey Griffin et al v. United States of America
       c/w
       22-3826         Kimberly Williams et al v. United States of America

       22-4007         Preston Lewis v. Jonathan Friedman et al

       22-4521         St. Joseph Medical Clinic AMC v. Bankers Insurance Company

       22-4591         Frank Kevin Kennedy et al v. Shell USA, Inc. et al

       23-371          St. Augustine High School, Inc., New Orleans, Louisiana v. Covington
                       Flooring Company, Inc. et al

       23-555          Edmee O. Blanco v. State Farm Fire & Casualty Company

       23-556          Ann Cates v. Property and Casualty Insurance Company of Hartford

       23-1259         Danielle Kenell Weadd v. Pearlina Thomas et al

       23-1403         Layne Labat et al v. Safeco Insurance Company of America

       23-1674         Zion Lutheran Church v. Velocity Claims, LLC et al

       IT IS FURTHER ORDERED that the following Section “H” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:

       22-110          USA v. Xavier Johnson

       22-266          USA v. Wade Batiste

       23-23           USA v. Tylar Redditt

       23-49           USA v. Darlin Aminadak Banegas-Cruz

       CIVIL ACTION CASES:
       20-2361         Daytrend DeNone Moses v. Mohamed Mahmoud et al
       21-102          Juliette Harch v. Madeline Lane et al
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       21-1489         Assure Neuromonitoring Louisiana, LLC v. Fairway Medical Center,
                       L.L.C.
       22-269          Chad Oliver v. Darlin Velazquez et al
       22-358          Scott Glendening v. State Farm Fire & Casualty Company
       22-369          Wesley E. Brown et al v. Rodi Marine, LLC
       22-498          Precious Shephard et al v. Houma Terrebonne Housing Authority
       22-1004         Tymon Theriot et al v. Lighthouse Excalibur Insurance Company
       22-1311         Sandra Simmons et al v. GeoVera Specialty Insurance Company
       22-1556         Charles Lombard v. Southern Fidelity Insurance Company
       22-1954         Howard Eymard v. Safeport Insurance Company
       22-2296         John Angotti et al v. Allied Trust Insurance Company
       22-2427         Jarvis Ballard v. James Pohlmann et al
       22-2516         Nicholas Fraiche v. Garrison Property and Casualty Insurance Company et
                       al
       22-3067         Tylere Schilly et al v. Joseph Marcal et al
       22-4049         Jane Harvey et al v. Certain Underwriters at Lloyds, London et al
       22-5004         Fred B. Richardson III v. FedEx Ground Package System, Inc. et al
       22-5239         Willie Jenkins v. Underwriters At Lloyds London
       22-5303         Sheila Rogers et al v. Orleans Parish Sheriff Office et al
       22-5337         Guy C. Curry v. Axis Insurance Company et al
       23-249          Walter Morton Jr. v. Safeport Insurance Company
       23-1070         Ray Hodge & Associates, LLC v. Unglesby and Greenberg, LLC et al
       23-1158         Willie Bridgewater et al v. United States of America
       23-1395         Adi Raibstein Peralta v. Supreme Offshore Services, Inc. et al
       23-1423         Boris Odynocki v. Southern University at New Orleans et al
       23-1589         Joseph Harrison et al v. Liberty Mutual Insurance Company
       23-1738         Eric N. Illarmo et al v. USAA Casualty Insurance Company

       IT IS FURTHER ORDERED that the following Section “I” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:
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 22-151      USA v. Jamie P. McNamara

 23-21       USA v. Jarren Lee

 23-51       USA v. Ernest X. Taylor Jr.

 23-73       USA v. Jerome Scott Lyons

 CIVIL ACTION CASES:

 22-2111     Thomas C. A. Schlumbrecht et al v. Andrew V. Topel et al

 22-2179     Byron Barnes Sr. v. Dolgencorp, LLC et al

 22-2489     Kevin E. Comeaux v. State Farm Fire and Casualty Company

 22-2714     Marian Steib Hardgrave v. Farmers Property and Casualty Insurance
             Company
 22-2716     Christopher Pertuit v. USAA Casualty Insurance Company

 22-2923     Eduardo Espiritu et al v. Liberty Mutual Fire Insurance Company

 22-3002     Hoa Kevin Tran, et al v. Southern Fidelity Insurance Company

 22-3006     Hoa Kevin Tran et al v. Western World Insurance Company

 22-3029     James Planetta et al v. Wright National Flood Insurance Company

 22-3030     Charles Mentz IV v. Chubb European Group

 22-3087     Kiosk, Inc. v. State Farm Fire and Casualty Company

 22-3157     Peyton v. FedNat Insurance Company

 22-3733     Aaron Banks v. Alliance Offshore, L.L.C. et al

 22-3962     Kacie M. Breen v. Aaron D. Knapp, et al

 22-4300     Jenna Rae Brignac Truxillo v. National Maintenance & Repair of
             Louisiana, Inc. et al

 22-4513     Solomon J. Verdin v. Timothy Soignet et al

 22-4654     Joshua Passons v. Allied Trust Insurance Company

 22-4667     Robyn Joseph v. Gate Gourment Inc.

 22-4872     Dwayne Clause v. United Property & Casualty Insurance Company

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       22-4987         In re: In the Matter of La Carriers, LLC

       23-9            Stanley Moore Davis et al v. Dollar Tree Store No.05751 et al

       23-136          Tyler Truong v. Magnolia Fleet, LLC

       23-447          Dana Noakes v. Department of Homeland Security

       23-908          Kevin Hazure Jr. v. Xavier University of Louisiana

       23-1011         Angela C. Boudreaux et al v. General Motors et al

       23-1095         Jacoby Williams et al v. Mike Tregre et al

       23-1723         United States Fire Insurance Company v. J. Terrell Brown Sr. et al

       IT IS FURTHER ORDERED that the following Section “J” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:

       None.

       CIVIL ACTION CASES:

       20-2394         Kerwood Washington v United States of America

       22-87           Pruco Life Insurance Company v. Eugene Francis Dwyer et al

       22-113          Ernest Yambor et al v. Sun Reunion Lake RV LLC

       22-404          Lawrence Labbe v. Offshore Process Services, Inc.

       22-583          Kathleen Brisset Rome v. Academy Sports & Outdoors, Inc et al

       22-799          Monica Brady v. FedNat Insurance Company

       22-1155         Bottner Properties, LLC v. Atlantic Casualty Insurance Company

       22-1552         Thebia Hudson-Harvey v. Southern Fidelity Insurance Company

       22-1976         Anna Bachemin v. DDMS, LLC et al

       22-2050         Juliet Jefferson v. Barriere Construction Co., LLC et al

       22-2278         Kim Roublow v. State Farm Fire and Casualty Company

       22-2584         Tommy P. Rivet v. Huntington Ingalls Incorporated et al
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       22-2642         Proctor's Cove Condominium Association, Inc. v. Westchester Surplus
                       Lines Insurance Company

       22-2862         Torsh Inc. v. Audio Enhancement, Inc.

       22-3824         Gilda Frederick v. AT&T Corp et al

       22-4443         Edward Bissau Mendy v. Steele Protective Services, LLC

       22-4617         Linda M. LeBlanc et al v. Assumption Parish School Board

       23-278          Billy John Gaston et al v. State Farm Fire and Casualty Company

       23-380          Frances Johnston v. Louisiana Farm Bureau Casualty Insurance Company

       23-971          Tania Nicole Anderson et al v. HMO Louisiana Inc

       23-1240         Timithoy Cador et al v. ANPAC Louisiana Insurance Company

       23-1271         2305 N. Hullen, LLC v. Atain Specialty Insurance Company

       23-1275         Yolanda Johnson et al v. Allstate Insurance Company

       23-1354         Gulf States Regional Center, LLC v. United States Citizenship and
                       Immigration Services

       23-1411         Herbert Martin et al v. North Light Specialty Insurance Company

       23-1555         Caren Smith v. Metropolitan Life Insurance Company et al

       23-1577         Jerome Douglas et al v. State Farm Fire & Casualty Company

       IT IS FURTHER ORDERED that the following Section “L” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:

       20-7            USA v. Lloyd Jones

       21-42           USA v. Bobbie Ellis

       23-66           USA v. Melissa J. Watson

       23-77           USA v. Rasheed Smith

       CIVIL ACTION CASES:



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  22-276     711 Tchoupitoulas Condominum Association, Inc. v. Independent
             Specialty Insurance Company
  22-1864    Sharon Heno v. FedNat Insurance Company

  22-3976    Cody Baum v. American Security Insurance Company

  22-4757    Brandi Sibley v. Touro LCMC Health et al

  22-5351    Composite Effects, LLC v. All Elite Wrestling et al

  22-5481    Michelle Bresler, et al v. United HealthCare Insurance Company et al

  22-5560    MAC Real Estate, LLC v. Colony Insurance Company et al

  23-857     Gabrielle Sider v. Joseph P. Lopinto III et al

  23-875     Keith Rodriguez v. Taylor-Seidenbach, Inc. et al

  23-905     Tanae Jackson v. Burger King Corporation et al

  23-941     TD Land Development, LLC v. Clear Spring Property and Casualty
             Company
  23-944     Judith M. Smith v. New York Life Insurance Company et al

  23-982     Blake Hirstius et al v. Harco National Insurance Company

  23-1014    Charles Morrison et al v. Foremost Insurance Company Grand Rapids,
             Michigan
  23-1058    In Re: In the Matter of Dynamic Industries Saudi Arabia, Ltd.

  23-1061    Gail Bartholomew v. GeoVera Advantage Insurance Services, Inc.

  23-1166    Glenn Burke Jr. v. Dover Bay Specialty Insurance Company

  23-1206    Derek McCoy et al v. Alacrity Adjusting Solutions, LLC

  23-1274    Harold Washington Jr. v. Eric Martin et al

  23-1286    Myles Kearney v. United Property and Casualty Insurance Co.

  23-1387    Camille Theriot Schafer et al v. Kevin Darr et al

  23-1398    Mary L. Chanove et al v. Ford Motor Company

  23-1407    Mallory Ware v. Atlantic Richfield Company et al


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       23-1437         Francis Jones et al v. Automobile Insurance Company of Hartford,
                       Connecticut
       23-1561         Broadcast Music, Inc. et al v. Genie, Inc. et al

       23-1595         In re: In the Matter of Dynamic Industries Saudi Arabia, Ltd.

       23-1627         Lauren Paz et al v. Dover Bay Specialty Insurance Company

       IT IS FURTHER ORDERED that the following Section “M” cases are hereby

Reallotted to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of

this Order.

       CRIMINAL ACTION CASES:

       23-47           USA v. Dondre Morgan

       23-78           USA v. Deshaun Whatley et al

       23-98           USA v. Hugo Brian Fuentas-Eguigurens

       CIVIL ACTION CASES:

       19-13650        Joshua Akeem et al v. Dasmen Residential, LLC et al
       c/w
       19-13673        Charlene Miller v. Dasmen Residential, LLC et al
       c/w
       19-13705        Johnshane Powell v. KFK Group Inc., et al
       c/w
       19-14634        Renata Walker et al v. Dasmen Residential Management, LLC et al
       c/w
       19-14636        Andrea Riley et al v. Dasmen Residential Management, LLC et al
       c/w
       19-14637        Penny Johnson et al v. Dasmen Residential Management, LLC, et al
       c/w
       20-187          Trichell Sorrell et al v. Dasmen Residential Management, LLC et al

       21-1943         Hilda Prejeant v. Avondale Industries, Inc. et al

       22-489          Sally Bergeron et al v. State Farm Fire and Casualty Company

       22-494          David J. Becnel v. Home Depot U.S.A., Inc.

       22-617          Stanley Bergeron Sr. et al v. Allstate Property and Casualty Insurance
                       Company

       22-1648         Charles Corona et al v. State Farm Fire & Casualty Company

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       22-2098         Sara Bartholomew v. Allstate Vehicle and Property Insurance Company

       22-2528         Orlin Urquia v. American Strategic Insurance Corporation

       22-2647         Chalmette Amusement, Inc. v. Houston Casualty Company

       22-2784         Chad Quick et al v. State Farm Fire & Casualty Company

       22-2914         Evan Hayes et al v. Lexington Insurance Company

       22-2968         Nancy Tizzard v. State Farm Fire & Casualty Company

       22-3196         Lee Tractor Co., Inc. v. Arch Specialty Insurance Company

       22-3268         Gov Nicholas Properties, LLC et al v. StarStone Specialty Insurance
                       Company

       22-3370         Lisa Craft et al v. Homesite Fire and Casualty Company

       22-4744         Gabriela Molina v. Unum Life Insurance Company of America

       22-5097         Christopher Jones v. Jason Williams et al

       22-5330         SEALED

       23-614          Levar Mosley et al v. Plaquemines Parish Government et al

       23-1170         Jane Doe, et al v. School Board St. Tammany Parish

       23-1562         In Re: Reilly-Benton Company, Inc.

       IT IS FURTHER ORDERED that the following Section “R” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:

       20-10           USA v. Rueben Cain

       20-62           USA v. Warren G. Treme

       22-61           USA v. Chelsea Gee

       22-174          USA v. Michael Crawford

       CIVIL ACTION CASES:

       65-16173        Willie Banks et al v. St James Parish School Board et al

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  20-3346    In Re: Royal Alice Properties, LLC (closed)

  21-999     James Verret Jr. v. Low Land Construction Co., Inc.

  21-1855    Julie Nevarez v. Dana Coleman et al

  21-2282    Moshe Shargian v. Yoel Shargian et al

  21-2373    Bionca Fleury v. Sodexo, Inc

  22-107     Michael Todd Fontenot et al v. Ocean Harbor Casualty Insurance
             Company

  22-127     In Re: Diamond B Industries, L.L.C.
  c/w
  22-574     In Re: Rigid Constructors, LLC

  22-981     Burlington Insurance Company v. Houston Casualty Company

  22-1250    Stephen J. Hebert v. Allstate Insurance Company

  22-1279    Vanissa Prout v. State Farm Fire and Casualty Insurance Company

  22-1453    Swa’Drian Lewis et al v. Susan Hutson et al

  22-1771    U.S. Securities and Exchange Commission v. Hollis P. Day Jr.

  22-1852    QuarterNorth Energy LLC et al v. Supreme Offshore Services, Inc. et al

  22-1980    Dennis Eddings v. JJB, Inc. et al

  22-2002    Michelle Dufrene v. Allstate Insurance Company

  22-2115    Majd Darhammad, et al v. Safepoint Insurance Company

  22-2772    Patrick Fitzmorris, et al v. QBE Specialty Insurance Company

  22-3378    Donald Ray Sater v. Wright National Flood Insurance Company

  22-4142    Matt Frost et al v. Allied Trust Insurance Company

  22-5093    Penemue LLC v. Raylyn Stevens et al

  23-319     Cypress Park Apartments II, LLC v. Interstate Fire & Casualty Company,
             et al

  23-1093    Charles Armstrong et al v. Aneka Armstrong et al

  23-1173    Gretna City v. Indian Harbor Insurance Company et al
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       23-1175         Gretna City v. HDI Global Specialty SE

       23-1176         Gretna City v. Certain Underwriters at Lloyds, London, Certificate
                       Number AMR-36942-07

       IT IS FURTHER ORDERED that the following Section “T” cases are hereby reallotted

to Judge Darrel James Papillion, Section “P” of this Court, effective as of the date of this Order.

       CRIMINAL ACTION CASES:

       22-147          USA v. Ashton Causey et al

       23-62           USA v. Tony Brumfield et al

       CIVIL ACTION CASES:

       19-11680        SEALED
       c/w
       19-11682        SEALED

       19-13212        Husam Odeh v. Tyrone Butler et al

       20-1145         Latiasha Smith Williams v. Louisiana State et al

       20-2505         Sylvia Jones v. Administrators of the Tulane Educational Fund
       c/w
       20-2518         John Ellis v. Tulane University

       21-491          Heather Diodene v. Marlin N. Gusman et al

       21-852          Remingtyn A. Williams et al v. Shaun Ferguson et al
       c/w
       21-1079         Katharine Archer v. New Orleans City et al

       21-2329         Kelley Bienvenu v. Family Dollar, Inc. et al

       22-610          Felton Adam Robichaux v. Huntington Ingalls Incorporated et al

       22-868          Odeh Irrevocable Living Trust v. Atlantic Casualty Insurance Company

       22-1271         Ashley Hutchinson-Harper Hutchinson-Harper, et al v. Jefferson Parish
                       School Board, et al

       22-1365         Velma Lee Thompson v. Huntington Ingalls Incorporated et al

       22-2006         First Baptist Church of Houma, Louisiana et al v. Westchester Surplus
                       Lines Insurance Company

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       22-2298        Mildred M. Erny, et al v. Allied Trust Insurance Company

       22-2347        First Presbyterian Church in New Orleans v Lloyd's America, Inc.

       22-2740        Surgical Specialty Associates, LLC v. Maxum Indemnity Company

       22-3231        Lisa E. Varnado et al v. Foremost Insurance Company Grand Rapids,
                      Michigan

       22-3633        Desmond Carriere v. State Farm Fire & Casualty Company et al

       22-3645        Elizabeth Williams v. American Security Insurance Company et al

       22-3655        Rashed Mujalli v. Maxum Indemnity Company

       22-3866        Ann Cardwell et al v. Allied Trust Insurance Company

       22-4149        Glenda Johnson v. Maison Insurance Company

       22-4244        Della Carter v. Allstate Vehicle and Property Insurance Company et al

       23-457         WLP Capital Inc v. Dustin Porte et al

       23-565         Robert W. Scheffy Jr. et al v. Joel Lyon, et al

       IT IS FURTHER ORDERED that all deadlines remain in place, and no motions to

reconsider will be granted unless there has been a change in the law or a material factual or other

change since the order was signed.

       New Orleans, Louisiana, this     8th day of June 2023.




                                                      NANNETTE JOLIVETTE BROWN
                                                              CHIEF JUDGE
                                                     UNITED STATES DISTRICT COURT




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